Case 3:21-cv-01167-TAD-KDM Document 18-2 Filed 08/20/21 Page 1 of 5 PageID #: 123




                                   UNITED STATES DISTRICT COURT

                                   WESTERN DISTRICT OF LOUNIANA


  HAROLD SMITH,                                             CIVI      ACTION NO.     :   3z2l-CY-01167


                      Plaintiff,

  VERSUS

  ACCESS HOME INSURANCE
  COMPANY AND C&S INSURANCE
  SERVICES, INC.

                        Defendants

               MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL DISMISSAL
                            PURSUANT TO F.R.C.P. 12(BX6)


               Defendant Access Home Insurance Company ("Access") submits this memorandum in

  support of its motion for partial dismissal as to plaintiff, Harold Smith's ("Plaintiff') claims for

  declaratory judgment pursuant to F.R.C.P. 12(b) (6).

  I.           PERTINENT FACTUAL AND PROCEDURAL BACKGROUND

               Plaintiff filed suit against Access through his Second Amended Complaint on August     3,


  2021. Plaintiff sued Access for breach of insurance contract and violations of La. R.S. 22:1892

  and La. R.S. 22:1973, claiming that Access allegedly failed             to comply with the notice
  requirements of La. R.S. 22:887. (Second Amended Complaint, n44,            5l). In short, Plaintiff s
  home allegedly sustained damages as a result of a      fire.   Access denied plaintiff s claim on the

  basis that the policy had been canceled before the incident occurred. Plaintiff disagreed, and

  now seeks coverage under the terms of the policy as well as penalties and attorney fees under the

  Louisiana insurance code.




  26391 68v.   I
Case 3:21-cv-01167-TAD-KDM Document 18-2 Filed 08/20/21 Page 2 of 5 PageID #: 124




               However, plaintiff has also asserted a "cause         of action," or at least a request, for

  declaratory judgment pursuant to 28 $ U.S.C.              220I.   See Second Amended Complaint,         fl   4.

  Specifically, under Count     IV of plaintiff s Complaint, plaintiff         recites various sections of the

  Louisiana Insurance Code, then states that plaintiff seeks a declaratory judgment that:

               (1) Access had an obligation to comply with the 30-day and 60-day statutory

           timelines for payment under La. R.S. 22:1892 and 22:1973, insofar that the

           insurer must tender undisputed payments on a claim within within the statutory

           time after receiving satisfactory proof of   lo ss   (Id. at fl 63); and

           (2) Access's 30-day and 60-day timelines under the aforementioned                   statutes

           began to run upon the date Access became aware that the insured premises were

           substantially damaged by fire and was aware the notice of cancellation was not

           actually delivered to plaintiff (Id. at tT64).

           As is discussed below, plaintiff has brought a straightforward damages claim for breach

  of an insurance contract. Plaintiff s apparent additional prayer for declaratory relief, which in

  essence seeks nothing more than application               of basic and potentially applicable Louisiana

  insurance law in connection with his bad faith damages claim, is premature at best and does

  nothing to streamline or avoid litigation given that plaintiff has already brought suit for damages.

  The exact same issues of fact and law can be adjudicated in connection therewith. Plaintiff                   s


  claims for declaratory judgment are therefore unnecessary, redundant, only serve to muddy the

  water and should be dismissed.

  u.       PLAINTIFF'S ATTEMPTED USE OF A DECLARATORY ACTION IN THIS
           CASE IS IMPROPER.

           Pursuant to Rule 12(bX6), on a motion to dismiss for failure to state a claim, the Court

  accepts all well-pleaded, non-conclusory facts        in the complaint as true. Whether the Court


                                                        2
  2639168v.1
Case 3:21-cv-01167-TAD-KDM Document 18-2 Filed 08/20/21 Page 3 of 5 PageID #: 125




  should exercise its discretion to dismiss a claim for declaratory relief is appropriately addressed

  on the basis of a Rule 12(bX6) motion to dismiss. See U.S. v. Louisiana,20ll WL 6012992

  (M.D. La. 20Il); Exxon Mobil Corp. v. Turner Industries Group, LLC,339 Fed.Appx. 441, 444

  15th   Cir. 2009). When determining whether to dismiss a declaratory judgment action, district

  courts must affirmatively answer three questions: (1) whether the action is justiciable; (2)

  whether the court has authority      to grant declaratory relief; and (3) whether to exercise   its

  discretion to decide rather than dismiss the action. Sherwin-Williams Co. v. Holmes County,343

  F.3d 383, 387 (5th Cir. 2003).

           In the instant case, Access does not question whether Plaintiffs underlying cause of

  action for insurance proceeds is justiciable, nor whether the Court has authority to make the

  factual and legal determinations at issue insofar as they may ultimately become relevant within

  the context of plaintiff s pending damages claim. However, the Court should nevertheless

  exercise its discretion not   to entertain any portion of Plaintifls claims in the context of     a


  declaratory action because it would serve no useful purpose.

           As stated by the United States Firth Circuit:

           The purpose of the Declaratory Judgment Act is "to afford one threatened with
           liability an early adjudication without waiting until his adversary should see fit
           to begin an action after the damage has accrued." The declaratory judgment
           vehicle also is intended to provide a means of settling an actual controversy
           before it ripens into a violation of the civil or criminal law, or a breach of a
           .ot t*.toai A,tty. Rowsn Companies, Inc. v. Grffin, 876 F.2d 26, 28 (5th Cir.
           1 9S9) (citations omitted)(emphasis added).




  The purpose of the Section 2201 is not served by trying a case piecemeal. ODECO                  v.


  Fortenberry, 1989 WL 152707 (E.D. La. 1989). If a district court, in the sound exercise of its

  judgment, determines after a complaint is filed that a declaratory judgment will serve no useful




                                                     J
  2639168v.1
Case 3:21-cv-01167-TAD-KDM Document 18-2 Filed 08/20/21 Page 4 of 5 PageID #: 126




  pu{pose,      it   cannot be incumbent upon that court   to proceed to the merits before staying or

  dismissing the action. Wilton v. Seven Falls Co.,515 U.S. 277,288 (1995).

            Here, plaintiff seeks "decl aratory" rulings as to whether the statutory deadlines for paying

  an insurance claim applied and if so, when they commenced-issues which are largely

  associated with his claim for bad faith penalties and attorney fees. These issues are part and

  parcel of most any claim for insurance proceeds, are already at issue in plaintifls claim for

  damages and are also irrelevant unless and     until it is established that the Access policy was even

  in effect. No         reason has or can be given as to why the Declaratory Judgment Act need be

  utilized to in order for the Court to make these determinations.

            Declaratory relief serves no purpose in this case. It would not prevent the underlying loss

  at issue. It would be premature without first determining whether a contract of insurance was

  even in effect at the time of the     loss. It would not prevent or streamline litigation     over the

  damages claim that plaintiff has simultaneously asserted.       It would be redundant given that the

  same issues can be determined at the      trial of plaintiff s claim for damages. As such, plaintiff   s


  attempted use of the Declaratory Judgment Act is improper, redundant, and plaintiff s claims for

  declaratory relief should be dismissed.

  VII.      CONCLUSION

            Plaintiff has asserted a standard claim for damages that does not additionally require       a


  declaratory judgment over findings        of fact and/or law that would be part and parcel of       his

  pending damages claim. Plaintiff s claims for declaratory judgment are therefore redundant,

  improper and should be dismissed without prejudice.




                                                      4
   2639168v.1
Case 3:21-cv-01167-TAD-KDM Document 18-2 Filed 08/20/21 Page 5 of 5 PageID #: 127



                                         Respectfully submitted,

                                         By: /s/ Am)t Groves Lowe
                                             AN4Y GROVES [,OWE, TA,Bpp#?507      7

                                             JoHN M. PARIcR, tp-,sAR#3'2629
                                             TAYI,&      PORIER, BROOKS &PHILUPS L.LP.
                                             P.O.Box2471
                                             Baton Rouge, LA7082l
                                             Phone: (225)387-3221
                                             Fax: (225)215-8751
                                             Email   : amy. groves.lowe@taylorporter.com
                                             Attorneysfor Defendant Access Home Insurance
                                             Company


                                            CERTIFICATE

           The undersigned hereby certifies that on this 20th day of August, 2027, a true and correct

  copy of the foregoing document was filed electronically with the Clerk of Court using the

  CM/ECF system which will send notice of electronic filing to all counsel of record.


                                             /s/Amv Groves Lowe
                                             Amy Groves Lowe




                                                     5
  2639168v.1
